Case 1:22-cr-00025-APM Document 73-7 Filed 09/30/24 Pagei1of1

Brian Metivier

Demoulas Super Markets Inc.
881 East Street

Tewksbury, Ma 01876
7/24/24

To Whom It May Concern:

nce is a vendor that does welding and

ts Inc. Stefanie began her employment at
ce between Demoulas and S & D and
cts of the company. In this position,

Stefanie Chiguer has worked for S & D Fence since 2021. S & D Fe
fencing jobs, as well as new store projects for Demoulas Supermarke
S & D Fence as an entry level administrator. She facilitated corresponden
completed invoicing. She was soon promoted and now handles most aspe ert ag
she also orders supplies, quotes work, completes payroll and manages the employees. She is a sae ae
personable individual. She is highly self-motivated and capable of achieving any goal she sets her mind O. HS
consider her a valuable resource. Stafanie welcomes all new opportunities and meets her deadlines on time.
you have any further questions, please feel free to contact me at 978-749-3909.

Brian Metivier ‘
Facilities Manager

Demoulas S$ pert

